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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION


In the Matter of the Petition of

GRACE OCEAN PRIVATE LIMITED, as
Owner of the M/V Dali,

               and                                          Docket No. JKB 24-CV-941

SYNERGY MARINE PTE LTD, as                                  IN ADMIRALTY
Manager of the M/V DALI,

for Exoneration from or Limitation of Liability.



  UNOPPOSED MOTION FOR LEAVE TO LATE-FILE ANSWER AND CLAIM FOR
   CLAIMANT/RESPONDENT, MUKESH DESAI, ON BEHALF OF R.M. METALS,
                 A DIVISION OF R.M. CREATIONS, INC.

       COMES NOW Claimant Mukesh Desai, on behalf of R.M. Metals, a Division of R.M.

Creations, Inc. (hereinafter “Claimant”), hereby asking this Honorable Court to grant his

Unopposed Motion for Leave to Late-File his Answer and Claim (“Motion”), and in support

thereof avers as follows:

                            CONTROLLING LAW AND ANALYSIS

       1.      On April 1, 2024, this Honorable Court signed a Restraining Order and Order for

Issuance of Notice that Claims be Filed (ECF. No. 8), ordering Grace Ocean Private Limited and

Synergy Marine PTE LTD (“Petitioners”) to notice to all persons asserting claims with respect to

their Petition for Exoneration from or Limitation of Liability (“Petition”), and admonishing all

persons asserting claims to file their respective claims with the Clerk of this Court on or before

September 24, 2024.
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        2.       Federal Rule of Civil Procedure 6(b)(1)(B) allows this Court to excuse an untimely

filing if the filing party shows that the untimeliness was due to “excusable neglect.” The decision

whether to permit an untimely answer under Rule 6(b)(1)(B) is within the Court’s discretion. Mann

v. Mohr, 802 F. App’x 871, 878 (6th Cir. 2020). When making that decision, the Court must

consider five factors: “(1) the danger of prejudice to the nonmoving party, (2) the length of the

delay and its potential impact on judicial proceedings, (3) the reason for the delay, (4) whether the

delay was within the reasonable control of the moving party, and (5) whether the late-filing party

acted in good faith.” Id. (internal citation omitted).

        3.       Here: (1) there is no prejudice to Petitioners, as this filing is two days after the

deadline; (2) the delay is only 2 days, and there is no known impact on judicial proceedings; (3)

the reason for delay is that undersigned counsel was not hired until September 24, 2024, the

deadline to file timely; (4) the 2 day delay is not within the reasonable control of Claimant’s

counsel; and (5) Claimant and undersigned counsel worked quickly and in good faith in expediting

the filing of this Motion, Clamaint’s Answer to the Petition for Exoneration from Limitation or of

Liability (“Answer”)1, Claimant’s Claim Pursuant to Supplemental Federal Rule F(5) in Relation

to the Key Bridge Allision (“Claim”)2, and Complaint’s Motion for Admission to Appear Pro Hac

Vice.

        4.       Claimant now seeks leave of this Honorable Court, to file his Answer and Claim,

two days after the September 24, 2024, deadline.

        5.       Claimant has conferred with counsel for Petitioners. Petitioners are unopposed to

this Motion, provided Claimant agrees to abide by the agreement reached earlier between


1
  Exhibit 1: Answer of Claimant/Respondent Mukesh Desai, on behalf of R.M. Metals, a division of R.M.
Creations, Inc., to the Petition for Exoneration from Limitation or of Liability.
2
  Exhibit 2: Claim by Mukesh Desai, on behalf of R.M. Metals, a division of R.M. Creations, Inc., Pursuant to
Supplemental Federal Rule F(5) in Relation to the Key Bridge Allision.


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Petitioners and various cargo interests, as reported generally by Petitioners’ counsel, Mr. Justin

Helig.

         6.    Under this cargo interests agreement, relevant parties agreed to a new filing

deadline for claimants (including Claimant) asserting cargo-related claims, until and through

January 24, 2025.

         7.    Claimant hereby agrees to abide by those same terms such that the new deadline to

file is January 24, 2025.

         8.    As such, this Motion is unopposed, and thus should be considered timely.

                                           PRAYER

         WHEREFORE, Claimant, Mukesh Desai, on behalf of R.M. Metals, a Division of R.M.

Creations, Inc., hereby requests this Honorable Court grant his Unopposed Motion for Leave to

Late-File his Answer and Claim, and all other relief that this Court deems just and proper at law,

in equity and in Admiralty.

         Dated: September 26, 2024.                 Respectfully submitted,

                                                    /s/ Robert M. Schwartzman
                                                    Robert M. Schwartzman, Esq.
                                                    CFP No. 8011010339
                                                    SCHWARTZMAN LAW, LLC
                                                    2313 Hidden Glen Drive
                                                    Owings Mills, MD 21117
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                                                    Email: rms@rs-atty.com
                                                    Attorney for Mukesh Desai,
                                                    on behalf of R.M. Metals, a
                                                    Division of R.M. Creations, Inc.


                            CERTIFICATE OF CONFERENCE




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         I certify that I contacted counsel for Petitioners, to seek their agreement or non-opposition

to this Motion, and Petitioners have indicated they are unopposed, under the terms described

above.

                                                       /s/ Robert M. Schwartzman
                                                       Robert M. Schwartzman


                              CERTIFICATE OF SERVICE

         In compliance with Supplemental Federal Rule F(5), I hereby certify that on the 26th day

of September, 2024, I electronically filed the foregoing pleading with the Clerk of the Court by

using the CM/ECF system which will send a notice of electronic filing to all counsel who are

CM/ECF participants.

                                                       /s/ Robert M. Schwartzman
                                                       Robert M. Schwartzman




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